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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  )
                                          )
                  v.                      )                   No. 24-MJ-81
                                          )
RUBY CORADO                               )
__________________________________________)

    DEFENDANT’S SECOND AMENDED MOTION AND MEMORANDUM IN SUPPORT
                         OF PRETRIAL RELEASE 1

        Defendant Ruby Corado, through the undersigned attorney, respectfully requests that this

Court release her on bond pursuant to the Bail Reform Act, 18 U.S.C. § 3142 and United States

v. Salerno, 481 U.S. 739 (1987). Ms. Corado has (1) significant connections to the community,

(2) limited criminal history, and (3) no ability to flee. The government has failed to set forth

sufficient facts to find that Ms. Corado is a serious risk of flight under 18 U.S.C.

§ 3142(f)(2)(A). Ms. Corado asks the Court to find that there are conditions that will reasonably

ensure her appearance and ensure the safety of the community and to release her under those

conditions.

I.      Background

        Ms. Corado was arrested on March 5, 2024 pursuant to a criminal complaint charging her

with bank fraud, wire fraud, laundering of monetary instruments, monetary transactions in

criminally-derived proceeds, and failure to file report of foreign bank account. Ms. Corado first

appeared before this Court on March 6, 2024 and a detention hearing was set for March 8, 2024.

The government argues that detention is appropriate under 18 U.S.C. § 3142(f)(2)(A).




1
 Counsel submits this second amended motion to correct inadvertent typographical errors on
pages 1, 5, and 6, due solely to counsel working under a tight deadline.
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II.    Legal Standard

       Consistent with the presumption of innocence and the Eighth Amendment prohibition

against excessive bail, the Bail Reform Act of 1984 provides that a defendant should be released

pending trial on personal recognizance or “subject to the least restrictive further conditions, or

combination of conditions that . . . will reasonably assure the appearance of the person as

required and the safety of any other person and the community.” 18 U.S.C. § 3142(b) and

(c)(1)(B) (emphasis added). The Supreme Court has explained: “In our society liberty is the

norm, and detention prior to trial or without trial is the carefully limited exception.” United

States v. Salerno, 481 U.S. 739, 755 (1987); see also United States v. Singleton, 182 F.3d 7, 9

(D.C. Cir. 1999) (“Detention until trial is relatively difficult to impose.”). “Nothing in this

section shall be construed as modifying or limiting the presumption of innocence.” 18 U.S.C.

§ 3142(j). As a general rule, courts should refuse to release defendants on bail “[o]nly in rare

circumstances,” and “only for the strongest of reasons.” United States v. Motamedi, 767 F.2d

1403, 1405, 1406 (9th Cir. 1985) (Kennedy, J.). “It is only a ‘limited group of offenders’ who

should be [detained] pending trial.” United States v. Shakur, 817 F.2d 189, 195 (2d Cir. 1987)

(quoting S. Rep. N. 98-225 at 7 (1984), reprinted in 1984 U.S.C.C.A.N. 3182, 3189). Any

“[d]oubts regarding the propriety of release should be resolved in favor of the defendant.”

Motamedi, 767 F.2d at 1405.

       It is the government’s burden to demonstrate either by a preponderance of the evidence

that the defendant is more likely than not to flee, or by clear and convincing evidence that

preventative detention is necessary to ensure the safety of the community. See United States v.

Jessup, 757 F.2d 378, 384 (1st Cir. 1985) (Breyer, J.). Under the Bail Reform Act, the Court

must consider the following factors when determining whether the government has presented

sufficient evidence that Ms. Corado be detained: (1) the nature and circumstances of the offense

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charged; (2) the weight of the evidence; (3) the history and characteristics of the person charged;

and (4) the nature and seriousness of the danger posed by the person to any person in the

community if she is released. 18 U.S.C. § 3142(g).

       Finally, as relevant here, pursuant to the Bail Reform Act, if the government moves for

detention alleging that there is a “serious risk” that the person will flee and the Court finds as

such, a judicial officer may then determine whether any condition or combination of conditions

set forth in subsection (c) of this section will reasonably assure the appearance of such person as

required and the safety of any other person and the community. See 18 U.S.C. § 3142(f)(2)(A).

“A determination that an individual is a serious risk of flight must be supported by a

preponderance of the evidence.” United States v. Vasquez-Benitez, 919 F.3d 546, 551 (D.C. Cir.

2019) (citing United States v. Vortis, 785 F.2d 327, 328-29 (D.C. Cir. 1986) (per curiam)).

III.   The Government Has Not Met Its Burden of Proving That Ms. Corado Poses a
       “Serious” Risk Of Flight Under § 3142(f)(2)(A).

       Ms. Corado should be released on conditions because there is not a “serious risk that

[she] will flee” the jurisdiction under § 3142(f)(2)(A). Ordinary “risk of flight” is not a factor in

§ 3142(f). There is some risk of flight in every criminal case; “serious risk” of flight means

something more.

       According to a basic canon of statutory interpretation, the term “serious risk” means that

the risk must be more significant or extreme than an ordinary risk. See, e.g., Corley v. United

States, 556 U.S. 303, 314 (2009); Babbitt v. Sweet Home Chapter of Communities for a Great

Oregon, 515 U.S. 687, 698 (1995) (noting interpretation of statute should be reluctant to treat

statutory terms as surplusage). Indeed, Congress has prescribed “serious risk of flight” and the

risk of non-appearance as separate requirements. United States v. White, No. 3:21-MJ-04070,

2021 WL 2155441, at *8 (M.D. Tenn. May 27, 2021) (citing Gibson, 384 F. Supp. 3d at 965)


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(“Congress settled on very different language when describing the analysis courts must

undertake once a detention hearing goes forward.”). A risk of flight suggests an intentional and

active effort to put oneself outside of the purview of the court, whereas non-appearance can

cover negligent and other non-intentional circumstances. Id. Further, if a case does not involve

a “serious risk” of flight then the government’s request for detention fails at step one. Id. “The

ordinary meaning of ‘flee’ [under (f)(2)(A)] suggests volitional conduct.” United States v.

Ailon-Ailon, 875 F,3d 1334, 1338 (10th Cir. 2017).

       The BRA’s legislative history also makes clear that detention based on serious risk of

flight is only appropriate under “extreme and unusual circumstances.” 2 For example, the case

relied on in the legislative history as extreme and unusual enough to justify detention on the

grounds of serious risk of flight involved a defendant who was a fugitive and serial

impersonator who had failed to appear in the past, and had recently transferred over a million

dollars to Bermuda. See United States v. Abrahams, 575 F.2d 3, 4 (1st Cir. 1978). The

government must demonstrate that the risk of flight in a particular case rises to the level of

extreme or unusual, and no such showing has been made here.

       Moreover, the “[m]ere opportunity for flight is not sufficient grounds for pretrial

detention.” United States v. Himler, 797 F.2d 156, 161 (3d Cir. 1986). The Bail Reform Act


2
  See Bail Reform Act of 1983: Rep. of the Comm. on the Judiciary, 98th Cong. 48 (1983)
(“Under subsection f(2), a pretrial Detention Hearing may be held upon motion of the attorney
for the government or upon the judicial officer's own motion in three types of cases. . . . [T]hose
[types] involving . . . a serious risk that the defendant will flee . . . reflect the scope of current
case law that recognizes the appropriateness of denial of release in such cases.”) (emphasis
added) (citing United States v. Abrahams, 575 F.2d 3, 8 (1st Cir. 1978)—which held that only a
“rare case of extreme and unusual circumstances . . . justifies pretrial detention”—as
representing the “current case law”); see also Gavino v. McMahon, 499 F.2d 1191, 1995 (2d Cir.
1974) (holding that in a noncapital case the defendant is guaranteed the right to pretrial release
except in “extreme and unusual circumstances”); United States v. Kirk, 534 F.2d 1262, 1281 (8th
Cir. 1976) (holding that bail can only be denied “in the exceptional case”).

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authorizes detention “only upon proof of a likelihood of flight.” Id. at 160. The “preponderance

must, of course, go to the ultimate issue: that no combination or conditions -- either those set out

in the Bail Reform Act itself or any others that the magistrate or judge might find useful -- can

‘reasonably’ assure that the defendant will appear for trial.” United States v. Xulam, 84 F.3d

441, 442 (D.C. Cir. 1996).

       In this case, there is no reason to believe that Ms. Corado is a “serious” risk or that there

are no conditions of release which would be sufficient to assure her appearance. Although Ms.

Corado is a citizen of El Salvador, she lived in the United States for 35 years (a majority of her

adult life), and she was prepared to resume her life in the United States when she returned in

February. At the time of her arrest, Ms. Corado did not have a return ticket to go back to El

Salvador. She was in the process of securing a new job in the United States. Additionally, Ms.

Corado has significant family and friends in the D.C. area, including her sisters, her father, her

sister-in-law, 3 and numerous friends. She is married to a US citizen, who grew up in the DC

area and continues to have family here. In approximately 2007, Ms. Corado received legal

permanent resident status in the United States and she has an interest in and every intention to

maintain that status. There is no evidence that Ms. Corado’s travel to El Salvador in 2022 was

an attempt to flee legal action in the United States. She had been working on establishing an

international branch of her organization for years and this travel was a necessary extension of

that work. Additionally, Ms. Corado has attended hearings in a pending civil matter and

maintains consistent communication with counsel in that matter.




3
 If released, Ms. Corado will live with her sister-in-law in Oxen Hill, Maryland. Ms. Corado
can be placed on location monitoring, her passport surrendered, with a condition that she not
obtain a new passport.
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        The D.C. Circuit has held that a defendant’s ability to flee the country based merely on

ties to a foreign country, without evidence that she is likely to flee, cannot serve as the basis for

pretrial detention. See Xulam, 84 F.3d at 443. In Xulam, the court rejected the government’s

contention that the defendant -- an immigrant from Turkey who was charged with falsifying

information on a passport and who had only been in the country for three years -- should be

denied bail because nothing could stop him if he decided to flee. Id. at 444. The Court

explained: “That, of course, is true of every defendant released on conditions; it is also not the

standard authorized by law for determining whether pretrial detention is appropriate. Section

3142 speaks of conditions that will ‘reasonably’ assure appearance, not guarantee it.” Id.; see

also United States v. Himler, 797 F.2d 156 (3d Cir. 1986) (“Mere opportunity for flight is not

sufficient grounds for pretrial detention.”); Motamedi, 767 F.2d at 1408 (revoking detention

order for an Iranian citizen accused of illegal arms deals who allegedly had large bank accounts

abroad and an ability to return to Iran with impunity). This was true in Xulam, even when the

defendant was charged with passport fraud, suggesting at least a willingness to seek false

documents that would allow him to leave the United States.

        There is no evidence here of anything more than Ms. Corado’s foreign citizenship and

unsupported allegations that Ms. Corado has resources in El Salvador. This is not enough. The

government has not demonstrated that Ms. Corado presents a likelihood of flight – and she, in

fact, does not present a serious risk of flight.

        The government has not demonstrated that Ms. Corado is a serious risk of flight or set

forth any facts sufficient to find the risk of flight is extreme or unusual. In this case, the

government contends that citizenship in El Salvador, recent presence in El Salvador, and

alleged existence of funds meets the government’s burden to show that Ms. Corado is a



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“serious” flight risk under 18 U.S.C. § 3142(f)(2). However, Ms. Corado has resided in the

DMV area for over 35 years and has extensive family and friends in the area.

        On the facts of this case, the government not only has not demonstrate a likelihood of

flight, but also cannot demonstrate that Ms. Corado in fact has the ability to flee. While Ms.

Corado is a citizen of El Salvador, her passport was seized upon her arrest and with no passport,

she has no ability to flee to El Salvador or anywhere else. She is not eligible for a U.S. Passport

and the Court can require that she not obtain another passport while on pretrial release. See

Xulam, 84 F.3d at 444 (“On a more practical level, the government has taken away all his

passports and travel documents, so it is unlikely he could go far even if he wished to.”). Without

a passport, she cannot travel.

        Ms. Corado also has no assets with which to flee. As this Court has found, she is eligible

for court-appointed counsel, and Ms. Corado’s husband confirms that she has no assets or

property. Simply stated, being born outside the United States and living for a short period

internationally in the past is not sufficient to constitute a “serious risk of flight” for the purposes

of § 3141(f)(2).

        Furthermore, a defendant should not be detained as a “serious risk” of flight when the

risk of non-appearance can be mitigated by conditions of release. The only defendants who

qualify for detention under § 3142(f)(2) are those who are “[t]rue flight risks”—defendants the

government can prove are likely to willfully flee the jurisdiction with the intention of thwarting

the judicial process. The government has not met its burden to seek detention of Ms. Corado as a

“serious risk of flight” and, as stated below, there are conditions that can reasonably ensure her

appearance at court.




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IV.    The Government Cannot Meet Its Burden to Demonstrate that Ms. Corado is a
       Flight Risk or Danger to the Community.

       The D.C. Circuit recently reiterated the clear and convincing standard that the

government must meet to justify detaining a defendant as a danger to the community:

               The crux of the constitutional justification for preventive detention
               under the Bail Reform Act is that ‘[w]hen the Government proves
               by clear and convincing evidence that an arrestee presents an
               identified and articulable threat to an individual or the
               community, . . . a court may disable the arrestee from executing that
               threat. . . . Therefore, to order a defendant preventatively detained,
               a court must identify an articulable threat posed by the defendant to
               an individual or the community.

United States v. Munchel, 991 F.3d 1273, 1282-83 (D.C. Cir. 2021) (quoting Salerno, 481 U.S.

at 751) (emphasis added); see also United States v. Patriarca, 948 F.2d 789, 792 (1st Cir. 1991)

(explaining that the defendant must pose an actual danger to community, not that the defendant

in theory posed a danger to the community). The government has not and cannot meet its burden

here and Ms. Corado must be released under conditions. The Bail Reform Act factors

demonstrate that there are conditions or combinations of conditions that can reasonably assure

Ms. Corado’s appearance at trial and protect the public.

       A.      The Nature and Circumstances of the Offense

       The Complaint charges Ms. Corado with fraud offenses. No part of the offense involves

violence or danger to others. The government focuses on the significant statutory maximum

penalties, which is not unique to this case or cases in federal court in general. Ms. Corado, if

convicted would face a sentencing Guidelines range of significantly less than the statutory

maximum penalty, at counsel’s initial calculation around 2 years or less. Additionally, judges in

our district routinely sentence below the Guidelines in fraud cases. Therefore, the nature and

circumstances of this offense do not support detention. The nature and circumstances of the

offense also do not establish that Ms. Corado is a serious risk of flight. Ms. Corado has already

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been attending proceedings in a civil matter and there are conditions that the Court can set to

ensure her appearance.

       Importantly, individuals in fraud cases are routinely released pretrial, even when facing

the potential for significant penalties and in cases with much more significant loss amounts. See,

e.g., United States v. Maresca, No. 23-cr-123 (defendants released with much more significant

potential penalties and loss amounts); United States v. Barnes, No. 22-cr-324 (released despite

higher loss amount and ultimately reserved a 48 months sentence of incarceration); United States

v. Olaitan, No. 21-cr-713 (released despite higher loss amount, alleged ability to create

fraudulent identification, and ultimately received a 40 month sentence of incarceration); United

States v. Ogbenna, No. 21-cr-672 (released despite higher loss amount and ultimately sentenced

to 32 months incarceration).

       B.      The Weight of the Evidence

       The weight of the evidence does not provide clear and convincing evidence that Ms.

Corado would be a danger to the community or a serious risk of flight if released. As previously

stated, the proffer in the government’s memorandum does not include any allegations of

dangerousness. “Even overwhelming evidence of guilt would not, alone, meet [the clear and

convincing test].” United States v. Taylor, 289 F. Supp. 3d 55, 66 (D.D.C. 2018).

       Most importantly, the weight of the evidence does not demonstrate that Ms. Corado is a

serious risk of flight. As described above, the actual Guidelines in this case are likely relatively

low and would not lead to a finding that Ms. Corado is a serious risk of flight.

       C.      The History and Characteristics of Ms. Corado

       Ms. Corado is a transgender woman who has worked for a majority of her life to assist

other trans individuals and individuals in the LGBT community. As described above, Ms.

Corado lived in the D.C. area for 35 years. It is where she built her life. It is where she met her

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husband. She has numerous family in the area and no reason to flee. Ms. Corado traveled to El

Salvador to develop an international branch of Casa Ruby. However, when that project did not

succeed, she looked for work in the United States and was in the process of confirming and

staring a position when she was arrested. When Ms. Corado returned to the United States in

February 2024, she intended to remain and rebuild her life here. Ms. Corado has no reason to

flee. In fact, she has every reason to remain in the United States to fight this case.

        Additionally, Ms. Corado has no history of failing to comply with court supervision.

According to the pretrial report, she has one minor prior conviction from 2011 where she

received and completed probation. Ms. Corado has also been attending proceedings in a pending

civil matter, demonstrating her willingness to appear in court. It is important to note that the

pretrial services report itself states that Ms. Corado is a low risk.

        Finally, the Court should consider what pretrial detention would mean for Ms. Corado.

As a transgender woman, Ms. Corado is designated as a male by the D.C. Jail and held in a

men’s unit. However, because the D.C. Jail has serious concerns that Ms. Corado would be a

victim of sexual assault in the general population at the D.C. Jail, she is being held in protective

custody. Protective custody at the D.C. Jail is solitary confinement, with extremely limited times

away from her cell, one hour a day if she is lucky. Pretrial detention for Ms. Corado would be

more punitive and cruel than for another individual because she is transgender.

        The government again focuses on the allegations in this case as Ms. Corado’s history and

characteristics, but those are just allegations and are not sufficient evidence to conclude that Ms.

Corado is a serious risk of flight. The fact that Ms. Corado has no property or funds, as stressed

by the government, is evidence that she has no means to flee.

        Ms. Corado’s history and characteristics do not provide any support for a finding that she



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is a serious risk of flight. There are conditions that will reasonably assure her appearance and

Ms. Corado must be released.

          D.     The Nature and Seriousness of the Danger to Any Person or the Community
                 Posed by Ms. Corado’s Release

          The government has not and cannot provide any evidence, let alone clear and convincing

evidence, to support a finding that Ms. Corado would be a danger to the community if released.

First, the dangerousness analysis “does not turn on any generalized, backward-looking

assessment” of the offender or the crime. Munchel, 991 F.3d at 1286 (Katsas, J., concurring).

“Instead, it turns on a specific, forward looking assessment of whether” the individual “currently

pose[s] an unmitigable threat to public safety.” Id. The government has not and cannot provide

specific evidence to support a finding that Ms. Corado poses an unmitigable threat to public

safety.

          The government vaguely states that Ms. Corado might commit another offense, but her

almost nonexistent criminal history and lack of access to a business or resources refutes that

baseless allegation.

          The government has not provided sufficient evidence for the Court to find that no

combination of conditions could reasonably ensure the safety of the community and Ms.

Corado’s appearance at court and she must be released.

V.        Statistics Showing that It Is Extremely Rare for Defendants on Bond to Flee or
          Recidivate Demonstrate that Ms. Corado Does Not Pose A Serious Risk of Flight or
          Danger to the Community.

          In this case, this Court should be guided by Administrative Office of the Courts statistics

showing that nearly everyone released pending trial appears in court and does not reoffend. In

fact, in 2019, 99% of released federal defendants nationwide appeared for court as required and




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98% did not commit new crimes on bond. 4 Significantly, this near-perfect compliance rate is

equally evident in federal districts with very high release rates and those with very low release

rates. 5 Even in districts that release two-thirds of all federal defendants on bond, fewer than 1%

fail to appear in court and just over 2% are rearrested while released. 6 The below chart reflects

this data:




4
  AO Table H-15 (Dec. 31, 2019), available at Mot. for Bond, United States v. Rodriguez,
No. 19-CR-77 (E.D. Wis. Apr. 2, 2020), ECF No. 41, Ex. 1, archived at https://perma.cc/LYG4-
AX4H (showing a nationwide failure-to-appear rate of 1.2% and a rearrest rate of 1.9%).
5
  The districts with the highest and lowest release rates were identified using the version of AO
Table H-14A for the 12-month period ending December 31, 2019. See AO Table H-14A (Dec.
31, 2019), https://perma.cc/32XF-2S42. The failure-to-appear and rearrest rates for these
districts were calculated using Exhibit 1, AO Table H-15. The districts with the lowest release
rates in 2019 were, from lowest to highest, S.D. California, W.D. Arkansas, E.D. Tennessee,
S.D. Texas, E.D. Missouri, N.D. Indiana, E.D. Oklahoma, W.D. Texas, W.D. North Carolina,
C.D. Illinois; the districts with the highest release rates are, from lowest to highest, E.D.
Michigan, E.D. Arkansas, D. New Jersey, E.D. New York, D. Maine, D. Connecticut, W.D. New
York, W.D. Washington, D. Guam, D. Northern Mariana Islands. See AO Table H-14A.
6
  See AO Table H-15; AO Table H-14A.

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VI.    Ms. Corado Must Be Released Because There Are Conditions That Will Reasonably
       Assure Appearance and Safety.

       Ms. Corado must be released because there are conditions that will reasonably assure the

safety of the community and her appearance in court. A defendant cannot be detained “unless a

finding is made that no release conditions ‘will reasonably assure . . . the safety of the

community’” and the defendant’s appearance in court. United States v. Dominguez, 783 F.2d

702, 707 (7th Cir. 1986) (quoting 18 U.S.C. § 3142(e)). Here, the government has not carried its

high burden of proving by clear and convincing evidence that there are no release conditions that

will reasonably assure the safety of the community. See id. at 708 n.8. The government also has

not proved by a preponderance of the evidence that there are no conditions that would reasonably

assure Ms. Corado’s appearance in court. Thus, Ms. Corado cannot be detained.

       The following conditions of release under § 3142(c)(1)(B), and any other conditions the

Court deems necessary, will reasonably assure Ms. Corado’s appearance in court and the safety

of the community.

       •       Turn over any passports and agree not to procure another passport;

       •       Seek Court or Pretrial prior authorization for any travel more than 50 miles
               outside Washington, D.C.;

       •       Curfew or home detention;

       •       Report on a “regular basis” to PTS or some other agency, id. § 3142(c)(1)(B)(vi);

       •       Refrain from possessing “a firearm, destructive device, or other dangerous
               weapon,” id. § 3142(c)(1)(B)(viii);

       •       Refrain from “excessive use of alcohol,” id. § 3142(c)(1)(B)(ix); and

       •       Refrain from “any use of a narcotic drug or other controlled substance . . . without
               a prescription,” id. § 3142(c)(1)(B)(ix).

       Because there are conditions of release that will reasonably assure Ms. Corado’s

appearance in court and the safety of the community, she must be released.


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VII.   Conclusion

       For the foregoing reasons, Ms. Corado respectfully requests that this Court release her

with conditions.

                                                    Respectfully submitted,

                                                    A.J. KRAMER
                                                    FEDERAL PUBLIC DEFENDER

                                                    ______/s/__________________
                                                    Diane Shrewsbury
                                                    Assistant Federal Public Defender
                                                    625 Indiana Ave., N.W., Suite 550
                                                    Washington, D.C. 20004
                                                    (202) 208-7500




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